                     IN THE UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION

In the Matter of:                                )
                                                 )
ALISON P. GAMBLE                                 )        CASE NO. 18-82298-CRJ-7
SSN: XXX-XX-3024                                 )
                                                 )        CHAPTER 7
Debtor.                                          )
                                                 )
_______________________________                  )
                                                 )
ALISON P. GAMBLE                                 )
                                                 )
Plaintiff,                                       )
                                                 )
vs.                                              )
                                                 )
STATE OF ALABAMA,                                )
DEPARTMENT OF REVENUE                            )
                                                 )
        and                                      )        ADVERSARY PROCEEDING
                                                 )        NUMBER.: ___________________
UNITED STATES OF AMERICA                         )
DEPARTMENT OF TREASURY-                          )
INTERNAL REVENUE SERVICE                         )
                                                 )
Defendants.                                      )

                      DEBTOR’S COMPLAINT TO DETERMINE
                    DISCHARGEABILITY OF TAX OBLIGATIONS

        COMES NOW Alison P. Gamble, as Debtor in her above-styled Chapter 7 case (the
“Debtor”), and show unto the Court as follows:


                                 JURISDICTION AND VENUE


        1.     The Debtor filed a voluntary petition under Chapter 7 of Title 11 of the United
States Code on August 2, 2018.




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       2.      Jurisdiction of this Court over this adversary proceeding is based upon 28 U.S.C.
§ 1334 in that this action arises and relates to the above-described Chapter 7 bankruptcy case and
is not based on a claim or cause of action under state law.


       3.      Venue of this proceeding is based on 28 U.S.C. § 1409 in that it is being
commenced in the district where the related case under Title 11 U.S.C. is pending.


       4.      This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(I) in that it is a
proceeding to determine the dischargeability of particular debts.


                                     STATEMENT OF FACTS


       5.      Based on a proof of claim filed in the Debtor’s bankruptcy case, the Debtor is
indebted to the State of Alabama, Department of Revenue (“ADOR”) for income taxes, interest,
and penalties, as follows:


               Tax year 2006                         $22,086.61
               Tax year 2007                         $15,149.84
               Tax year 2008                         $16,228.89
               Tax year 2009                         $10,630.47
               Tax year 2010                         $13,790.69
               Tax year 2011                         $ 9,300.17
                                                     -------------
               TOTAL                                 $87,186.67


       6.      The Debtor is not indebted to ADOR for any additional amounts or periods.


       7.      As of July 9, 2010, the Debtor was indebted to the United States of America,
Department of the Treasury, Internal Revenue Service (the “IRS”) for income taxes, interest, and
penalties, as reflected by a statutory lien on file with the Probate Court for Madison County,
Alabama (the “IRS Tax Lien”), as follows:




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               Tax year 1997                         $33,168.48
               Tax year 1998                         $16,615.48
               Tax year 1999                         $21,111.46


       8.      The Debtor is not indebted to IRS for any additional amounts or periods.


       9.      The statute of limitation on collection of any tax debts the Debtor owed to IRS
expired on or about May 2, 2011. Accordingly, the IRS Tax Lien is no longer enforceable and
due to be released.


       10.     In this adversary proceeding, the Debtor seeks a determination that any
indebtedness she owes to ADOR and IRS is dischargeable in their entirety pursuant to applicable
law.


                                    PRAYER FOR RELIEF


       WHEREFORE, premises considered, the Debtor, Alison P. Gamble, respectfully request
that this Court enter an Order:


       1.      Declaring that any indebtedness she owes to ADOR and IRS will be eliminated
               by the order of Chapter 7 discharge to be granted to the Debtor in this case; and


       2.      Granting the Debtor such further and additional relief as the Court deems just and
               proper.


       Respectfully submitted this the 8th day of October, 2018.

                                             /s/ Tazewell T. Shepard IV
                                             Tazewell T. Shepard IV
                                             Attorney to Debtor/Plaintiff

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       SERVE UPON:

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